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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA

                          CASE NO.: 11-CV-62607-WILLIAMS/SELTZER


     WILLIAM L. TAYLOR,

            Plaintiffs,

     vs.

     EMERALD THAI, INC. a Florida Corporation,
     and ARREL ENTERPRISES, INC. a Florida
     Limited Liability Company,

            Defendants.

     __________________________________/


                                         NOTICE OF SETTLEMENT

            Plaintiff,    WILLIAM      L.   TAYLOR       (“Plaintiff”),   by   and     through     the

     undersigned counsel, hereby notify this Court that Plaintiff has reached

     settlement of all issues pertaining to their case against Defendant, EMERALD

     THAI, INC. (“Defendant”).

            The parties are presently preparing a formal settlement agreement for

     signature by all parties and intend to file a stipulation for dismissal with

     prejudice when the agreement is signed by all required to do so, which they

     anticipate will be no more than twenty (25) days from the date hereof.




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     Respectfully submitted this 19th day of March, 2012.

                                                  /s/ Douglas S. Schapiro

                                                  Douglas S. Schapiro
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                                    CERTIFICATE OF SERVICE

            WE HEREBY CERTIFY that a true and correct copy of the foregoing was

     filed electronically using the CM/ECF system on 19th day of March, 2012.

                                                  /s/ Douglas S. Schapiro

                                                  Douglas S. Schapiro
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